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                        UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF MASSACHUSETTS


 In re                                   Chapter 7

 Douglas Bumstead                        Case No. 19-14401-FJB
         Debtor


                                 TRUSTEE’S STATUS REPORT


           John O. Desmond, Trustee, files the following status report:

           1. The Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy

 Code on December 31, 2019. On June 10, 2020, the Court approved a settlement

 concerning the Trustee’s Objection to an exemption in an automobile that was payable

 over six months. The Debtor has paid the settlement amount in full and the trustee is

 currently holding $2,999.36 in the estate.

           2. The trustee just requested a bar date for claims which should be set for about

 90 days from now. The trustee should be able to file his final report within 30 days of the

 bar date to set by the court.



                                         /s/ John O. Desmond
 Dated:    January 20, 2021              _______________________________
                                         John O. Desmond (BBO 554580)
                                         Trustee
                                         5 Edgell Road, Suite 30A
                                         Framingham, MA 01701
                                         Tel: (508) 879-9638
                                         Email: trustee@jdesmond.com
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                               CERTIFICATE OF SERVICE
 January 20, 2021

           I, John O. Desmond, certify under the pains and penalties of perjury that on this
 date, true and correct copies of the foregoing TRUSTEE’S STATUS REPORT were
 served via the U.S. Bankruptcy Court’s CM/ECF filing system or by U.S. Mail, First
 Class, postage pre-paid, to those persons not appearing on the Court’s receipt of
 electronic filing:



 John Fitzgerald
 USTPRegion01.BO.ECF@USDOJ.GOV

 Kate E. Nicholson on behalf of Trustee John O. Desmond knicholson@nicholsonpc.com,
 knicholson@ecf.courtdrive.com;dluo@nicholsonpc.com

 Steven R. Striffler on behalf of Debtor Douglas C Bumstead steve@strifflerlaw.com,
 strifflersr81644@notify.bestcase.com




                                         /s/ John O. Desmond
                                         ____________________________
                                         John O. Desmond
